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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

     INTELLECTUAL VENTURES I LLC,

            Plaintiff,

                     V.                                             C.A. No. 10-1067-LPS

     SYMANTEC CORPORATION,

            Defendant.


                                          MEMORANDUM ORDER

            At Wilmington this 23rd day of January, 2015, having reviewed the parties' letters

     regardingjuryinstructions (D.I. 626, 627, 631),

             IT IS HEREBY ORDERED that:

             1.      The Court disagrees with IV that an instruction on the entire market value rule

     cannot be read under these circumstances presented in this case. To the contrary, reading such an

     instruction is a proper exercise of the Court's discretion, as doing so will assist the jurors'

     understanding of the evidence on damages.

             However, as stated in the Court's prior rulings on Symantec's Daubert motion and

     motion in limine, the Court finds Symantec's interpretation of the law governing the entire

     market value rule overly narrow. The Court will instruct the jury on entire market value in

     accordance with the Court's understanding of the law.

             Accordingly, the Court will read the following cautionary jury instruction, at or about the

     time IV' s damages expert first references IV' s theory of damages as to the '610 patent, and again
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     as part of the final instructions:


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                           Intellectual Ventures is seeking damages for the '610 patent
                  under what is called the "entire market value rule." Pursuant to
                  this rule, a plaintiff may be awarded damages as a percentage of
                  revenues or profits attributable to an entire multi-component
                  product where the plaintiff establishes that it is the patented feature
                  that drives the demand for the entire product. As you will hear
                  evidence on revenues or profits from the entire market value of
                  certain products, there are several things you must keep in mind
                  when considering such evidence.

                          First, a reasonable royalty is typically made up of ( 1) a base
                  and (2) a rate (or percentage) that is applied to that base. The
                  ultimate combination of royalty base and royalty rate must reflect
                  the value attributable to the infringing features of the product, and
                  no more. IV bears the burden to establish the entire value of a
                  product as a marketable article is properly attributable to the
                  patented feature.

                          Second, in order for you to assess damages based on the
                  entire market value of the product, IV must have established that
                  the patented feature drove the demand for the entire product. If IV
                  does not establish the patented feature drove the demand for the
                  entire product, you must apportion the royalty down to a
                  reasonable estimate of the value of the patented feature.

           2.      With respect to final jury instructions on general patent damages, the parties are

    largely in agreement as to the proper instructions. The Court finds IV's construction more

1   straightforward and believes it will be slightly more helpful to the jury than Symantec's proposal.
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    The Court also adds a sentence.
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           Accordingly, the Court adopts the following final jury instruction on "Patent Damages

    Generally" (D.I. 604 at§ 6.1):

                           If you find that Symantec is liable for infringement of one
                   or more of the asserted claims, by making, using, selling, or
                   offering for sale any of its accused products, and you find the
                   asserted claims valid, you must determine the amount of money
                   damages to be awarded to Intellectual Ventures, if any. The
                   amount of damages must be adequate to compensate Intellectual
                   Ventures for the infringement. If you do not find patent

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1                   infringement liability by Symantec's accused products, or you find
                    the asserted claims invalid, you will not consider patent damages at
                    all.

                             Intellectual Ventures has the burden of proving damages by
                    a preponderance of the evidence and is entitled only to damages
                    that it has proven with "reasonable certainty." On the one hand,
                    reasonable certainty does not require proof of damages with
                    mathematical precision. Mere difficulty in ascertaining damages is
                    not fatal to Intellectual Ventures. On the other hand, Intellectual
                    Ventures is not entitled to speculative damages; that is, you should
                    not award any amount for loss, which, although possible, is remote
                    or left to conjecture or guesswork. You may base your evaluation
                    of "reasonable certainty" on any evidence, including expert or
                    opinion evidence.

                            The damages award should be based on sound economic proof.

            3.      With regard to the final instructions on reasonable royalty and the Georgia Pacific

     factors, while both parties' positions are consistent with the law, the Court finds Symantec's

1'   instructions more thorough and more likely to assist the jury. The Court disagrees with N that

     Symantec's few additional sentences, which lend clarity to the instructions, are cumulative or

     place undue emphasis on any one Georgia Pacific factor.




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            Accordingly, the Court adopts the following final jury instruction on "Reasonable

     Royalty" (D.1. 604 at § 6.2):
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I                           Intellectual Ventures is seeking damages in the amount of a


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                    reasonable royalty. A royalty is a payment made to the owner of a
                    patent by a non-owner in exchange for rights to make, use, or sell
                    the claimed invention.

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                            A reasonable royalty is the royalty that would have resulted
                    from a hypothetical negotiation between the patent owner and the
                    alleged infringer just before the infringement began. In
ll                  considering this hypothetical negotiation, you should focus on what
                    the expectations of the patent holder and the infringer would have
i                   been if they had entered into an agreement at that time, and if they


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                    had acted reasonably in their negotiations. You should also

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                    assume that both parties to that hypothetical negotiation believed
1                   the patent to be valid and infringed and that both parties are willing


l                   to enter into a license.

                            Having that in mind, you may consider any relevant fact in
                    determining the reasonable royalty for the use of a patented
                    invention, including the opinion testimony of experts. The
                    reasonable royalty you determine must be a royalty that would have
                    resulted from the hypothetical negotiation, and not simply a royalty
                    either party would have preferred.

            The Court adopts the following final jury instruction on "Georgia Pacific Factors"

    (D.1. 604 at § 6.3):

                            In determining the value of a reasonable royalty, you should
                    consider all the facts known and available to the parties at the time
                    the infringement began. Some of the kinds of factors that you may
                    consider in making your determination are:

                    1.     The royalties received by the patent owner at the
                           time of the hypothetical negotiation for the licensing
                           of the patent in suit, proving or tending to prove an
                           established royalty.

                    2.     The rates paid by Symantec for the use of other
                           patents comparable to the patent in suit.

                    3.     The nature and the scope of the license, as exclusive
                           or non-exclusive; or as restricted or non-restricted in
                           terms of territory or with respect to whom the
                           manufactured product may be sold.

                    4.     The patent owner's established policy and
                           marketing program to maintain its right to exclude
                           others from using the patented invention by not
                           licensing others to use the invention or by granting
                           licenses under special conditions designed to
                           preserve that exclusivity.

                    5.     The commercial relationship between Symantec and
                           the patent owner at the time of the hypothetical
                           negotiation, such as, whether they are competitors
                           in the same territory in the same line of business; or

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i                    whether they are inventor and promoter.

               6.    The effect of selling the patented product in
                     promoting sales of other products of Symantec; the
                     existing value of the invention to the patent owner
                     as a generator of sales of his non-patented items at
                     the time of the hypothetical negotiation; and the
                     extent of such derivative or convoyed sales.

               7.    The remaining life of the patents-in-suit and the
                     terms of the license.

               8.    The established profitability of the products made
                     under the patents-in-suit; their commercial success;
                     and their current popularity.

               9.    The utility and advantages of the patent property
                     over the old modes or devices, if any, that had been
                     used for achieving similar results.

               10.   The nature of the patented invention; the character
                     of the commercial embodiment of it as owned and
                     produced by the patent owner at the time of the
                     hypothetical negotiation; and the benefits to those
                     who have used the invention.

               11.   The extent to which Symantec has made use of the
                     invention; and any evidence probative of the value
                     of that use.

               12.   The portion of the profit or of the selling price that
                     may be customary in the particular business or in
                     comparable businesses to allow for the use of the
                     invention or analogous inventions.

               13.   The portion of the realizable profit that should be
                     credited to the inventions as distinguished from
                     non-patented elements, the manufacturing process,
                     business risks, or significant features or
                     improvements added by the infringer.

               14.   The opinion testimony of qualified experts.

               15.   The amount that a licensor (such as the patent

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                       owner at the time of the hypothetical negotiation)
                       and a licensee (such as Symantec) would have
                       agreed upon (at the time the infringement began) if
                       both had been reasonably and voluntarily trying to
                       reach an agreement; that is, the amount which a
                       prudent licensee - who desired, as a business
                       proposition, to obtain a license to manufacture and
                       sell a particular article embodying the patented
                       invention - would have been willing to pay as a
                       royalty and yet be able to make a reasonable profit
                       and which amount would have been acceptable by a
                       prudent patentee who was willing to grant a license.

               16.     Any other economic factor that a normally prudent
                       businessperson would, under similar circumstances,
                       take into consideration in negotiating the
                       hypothetical license. This may include the
                       availability of commercially acceptable,
                       noninfringing alternatives at the time of the
                       hypothetical negotiation.

                       No one of these factors is dispositive in every case, and you
               can and should consider the evidence that has been presented to
               you on any of these factors. You may also consider any other
               factors that in your mind would have increased or decreased the
               royalty the accused infringer would have been willing to pay and
               the patent holder would have been willing to accept.

       6.      Any other disputes raised in the parties' letters - including any dispute relating to

the proper use of settlement agreements and comparability oflicense agreements - will be

addressed at trial, in connection with argument on final jury instructions or otherwise, to the

extent necessary.

       7.      Finally, because Symantec has dropped the on-sale bar defense and marking is not

being addressed at trial, the disputes over those instructions are moot.


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